Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 1 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 2 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 3 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 4 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 5 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 6 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 7 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 8 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 9 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 10 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 11 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 12 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 13 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 14 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 15 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 16 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 17 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 18 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 19 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 20 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 21 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 22 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 23 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 24 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 25 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 26 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 27 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 28 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 29 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 30 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 31 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 32 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 33 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 34 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 35 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 36 of 37
Case 8:21-bk-10525-ES   Doc 264 Filed 09/28/21 Entered 09/28/21 16:58:37   Desc
                         Main Document    Page 37 of 37
